Case 2:21-cv-05381-MCS-E Document 24 Filed 11/02/21 Page 1 of 1 Page ID #:89


                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES - GENERAL

  Case No. 2:21−cv−05381−MCS−E                        Date      November 2, 2021
                SECURITIES AND EXCHANGE COMMISSION V. LAMBERT VANDER
  Title
               TUIG ET AL




  Present:        The Honorable      Mark C. Scarsi , U. S. District Judge
               Stephen Montes Kerr                            Not Reported;
                   Deputy Clerk                           Court Reporter/Recorder

     Attorney(s) Present for Plaintiff(s):         Attorney(s) Present for Defendant(s):
               None Present                                    None Present


Proceedings:       (IN CHAMBERS) ORDER TO SHOW CAUSE RE: DISMISSAL
                    FOR LACK OF PROSECUTION

        Plaintiff is ordered to show cause, in writing, no later than November 9, 2021, why
  this action should not be dismissed for lack of prosecution. The Court will consider the
  filing of the following on or before the above date as an appropriate response to this
  Order to Show Cause:


          Proof of service of summons and complaint

   X Response to the complaint by the defendant or an application for entry of default
     pursuant to Federal Rule of Civil Procedure 55(a)

          Application for entry of default judgment pursuant to Federal Rule of Civil
          Procedure 55(b)


        No oral argument on this matter will be heard unless otherwise ordered by the
  Court. See Fed. R. Civ. P. 78; Local Rule 7-15. The Order will stand submitted upon
  the filing of the response to the Order to Show Cause. Failure to respond to the Order to
  Show Cause will result in the dismissal of this action.

          IT IS SO ORDERED.

                                                                  Initials of Clerk: smo


 Page 1 of 1                         CIVIL MINUTES−GENERAL
